                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION
                              CASE NUMBER: 7:13-cv-145-F


Lisa Cooper,                                 )
       Plaintiff,                            )
                                             )
       vs.                                   )       FOURTH AMENDED COMPLAINT
                                             )           (Jury Trial Requested)
                                             )
The Smithfield Packing Company, Inc.,        )
      Defendant.                             )




1. This action is brought by a female citizen of Robeson County, North Carolina, for

   declaratory relief as well as damages. Plaintiff seeks compensation from the Defendant for

   maintaining a policy, practice, custom or usage of discriminating against Plaintiff for

   exercising her rights under Title VII with respect to compensation, terms, conditions,

   promotions, and privileges of employment in ways which deprive Plaintiff of equal

   employment opportunities and otherwise adversely effect plaintiff’s status as an employee.

2. Jurisdiction of the Court is invoked pursuant to 28 USC § 1343 (3) and (4), 28 USC § 1331,

   and 42 USC § 2000e-5(f), this being a proceeding to enforce rights and remedies secured to

   Plaintiff by Title VII of the Civil Rights Act of 1964, 42 USC § 2000e et. seq. as amended

   and as amended by the Civil Rights Act of 1991; and 42 USC § 1981.

3. Jurisdiction is further invoked pursuant to 28 USC §§ 2201 and 2202, this being an action for

   declaratory relief declaring illegal the acts of Defendant complained herein in violation of

   rights secured to plaintiff by the several Civil Rights Acts and the Constitution.




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4. All conditions precedent to jurisdiction under 42 USC § 2000e-5(f)(3) have occurred or been

   complied with, to wit:

       •   On or about December 21, 2011, Plaintiff timely submitted a charge of discrimination

           on the basis of retaliation and sex discrimination to the Equal Employment

           Opportunity Commission (EEOC). Said Charge # is 433-2012-00286.

       •   On or about April 19, 2013, the Department of Justice mailed the Plaintiff a notice of

           right to sue letter related to Charge #: 433-2012-00286.

5. Plaintiff, Lisa Cooper, is a female citizen of the United States and the State of North Carolina

   and resides in Robeson County, North Carolina. At all times alleged herein, Plaintiff was an

   employee within the meaning of 42 USC § 2000e(f).

6. The unlawful practices alleged herein were committed within the State of North Carolina;

   specifically in Bladen County, North Carolina.

7. The Defendant employs more than 10,000 people throughout the nation and operates in the

   production, processing and distribution of food and related products. At all times alleged

   herein, the Defendant was an employer within the meaning of 42 USC § 2000e(b) and

   employed more than fifteen (15) employees.

8. The Plaintiff began her employment with the Defendant in December, 1995. Immediately

   prior to her termination, the Plaintiff held the position of Supervisor. The Plaintiff further

   contends that throughout her employment with the Defendant, she was performing her job

   satisfactorily and was not in jeopardy of being terminated due to any fault of her own or due

   to poor job performance.




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9. The Plaintiff contends that beginning in January 2007 and extending through December 31,

   2007, she was subjected to sexual harassment on more than twenty (20) occasions by

   Superintendent Tommy Lowery which mostly consisted of sexually explicit comments.

10. The Plaintiff contends that the sexually explicit comments mostly included statements about

   how sexy she looked or how big her breasts and rear were, and how much Lowery wanted

   “to be with her”.

11. The Plaintiff contends that over the years 2008, 2009 and 2010, the harassment continued on

   at least a monthly basis. However, beginning in January, 2011 the harassment worsened and

   included, but was not limited to, sexually explicit statements made to her, sexual advances

   made toward her, inappropriate sexual contact and making continuous physical and

   emotional threats to the Plaintiff.

12. The Plaintiff contends that during this period of time Lowery asked her on a regular basis, at

   least once per week, to have sexual intercourse with him.

13. The Plaintiff contends that during this period of time Lowery told her on a regular, almost

   daily basis that he would like to get her on her “fucking” back, in a sexual position. The

   plaintiff further contends that Lowery was having sexual fantasies about engaging in sexual

   intercourse with her. The plaintiff further contends that Lowery asked her if he could come to

   her house for the purpose of engaging in sexual intercourse on a regular, almost daily basis.

14. The Plaintiff further contends that Lowery asked one of the plaintiff’s male co-workers if he

   had engaged in sexual intercourse with her, and he also asked whether the male co-worker

   knew if the plaintiff had sexual intercourse with any men other than her husband.

15. The Plaintiff contends that beginning in January 2011, Lowery forced her to spend time

   working physically closely with him in the office and physically harassing her as she would




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   enter and/or exit the office, making significant, inappropriate inquiries regarding her personal

   life and inappropriately disclosing matters about his personal life to her.

16. The Plaintiff contends that in 2011 Lowery would ask her to describe to him the manner in

   which she engaged in sexual intercourse with her husband. The Plaintiff further contends that

   Lowery would describe to her the manner in which he engaged in sexual intercourse with

   other women, and the way he would like to engage in sexual intercourse with her.

17. Intentionally deleted.

18. Intentionally deleted.

19. Intentionally deleted.

20. The Plaintiff contends that Lowery called her out of her name on many occasions, referring

   to her as a bitch, whore and slut while at work during the years 2010 through 2011. The

   plaintiff further contends that Lowery would often refer to her as a “bitch” when she rejected

   his sexual advances. The plaintiff further contends that Lowery spoke to her using a belittling

   tone of voice and disrespected her in the presence of co-workers by saying that she was

   stupid or was a stupid bitch.

21. The Plaintiff contends that in 2011 on almost a weekly basis, Lowery would get close enough

   to her that parts of his body would brush against her buttocks, breasts, arms and legs. The

   plaintiff contends that Lowery has used his hands, arms, legs and genitalia area to brush

   against her body for his sexual gratification.

22. The Plaintiff contends that in 2011, Lowery told her while at work that he loved her and

   wanted to be with her in a sexual way.




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23. The Plaintiff contends that in approximately March 2011, she requested a transfer to another

   department or another city to get away from Lowery. However, she was told that there were

   no vacancies to facilitate the transfer.

24. The Plaintiff contends that she complained directly to Lowery about his aforementioned

   sexually harassing behavior and told him to refrain from treating her in that manner on each

   occasion throughout the years up to and including July 18, 2011. The Plaintiff further

   contends that she verbally complained to other co-workers and Lowery’s supervisor about

   Lowery’s sexual harassment on more than one occasion, including but not limited to

   complaining to both as late as July 18, 2011. In approximately April 2011, the Plaintiff

   contends that she also complained to Human Resources Manager, Jamie Pope, about

   Lowery’s conduct. The plaintiff contends that she provided Pope with details verbally of the

   sexual harassment by Lowery against her so that Human Resources could conduct an

   investigation. The plaintiff also contends that she provided Human Resources with names of

   witnesses who could support her allegations of sexual harassment. The plaintiff further

   contends that she provided Human Resources with a written complaint on July 18, 2011. The

   plaintiff further contends that Human Resources failed to conduct an investigation and failed

   to contact the witnesses she provided. The plaintiff further contends that her complaints were

   not taken seriously by the defendant company.

25. In July, 2011, the plaintiff contends that she called the Employee Assistance Program (EAP)

   offered through the defendant company, in an effort to seek emotional support and treatment

   for the distress she was suffering as a result of Lowery’s conduct.

26. The Plaintiff contends that after she complained to human resources in approximately April,

   2011, the harassment by Lowery increased. Based upon information and belief, the Plaintiff




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   contends that Lowery was aware that she had complained to Human Resources because he

   referenced her internal complaints when threatening her and making sexual comments to her.

   The Plaintiff contends that neither Pope nor the defendant company supported her after the

   allegations of harassment were made regarding Lowery. The plaintiff contends that because

   of the aforementioned acts and because the employer would not address her complaints about

   Lowery’s conduct and the persistence of Lowery’s sexually harassing behavior, her working

   conditions had become so intolerable that on July 19, 2011, she was forced to resign to

   escape the harassment and address her mental health.

27. The Plaintiff contends that between 2007 and 2011, she was routinely subjected to offensive

   sexual harassment, in terms of the work conditions, privileges, benefits and work

   environment. The Plaintiff contends that she is a member of a protected class and was

   harassed by her manager because of her gender. The Plaintiff further contends that such

   harassment was unwelcome and was sufficiently severe and pervasive to alter the conditions

   of employment and to create an abusive and hostile working environment; and the employer

   knew or should have known of the harassment and failed to take prompt effective remedial

   action. The Plaintiff further contends that Lowery engaged in sexually harassing behavior on

   almost a daily basis in the presence of other employees of the defendant company.

28. The Plaintiff contends that at all times during her employment with the defendant company,

   the company did not have an effective sexual harassment policy.

29. The Plaintiff further contends that other employees, Supervisors and Human Resource

   Managers were aware of the ongoing sexual harassment and other sexually inappropriate

   workplace behaviors; yet they did nothing to stop them.




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30. Based upon information and belief, the plaintiff contends that Lowery engaged in sexually

   inappropriate and harassing behavior with other female employees of the defendant company

   between 2008 and July 2011.

31. Specifically, the plaintiff contends that the Defendant Company knew Lowery was treating

   her differently than male employees due to her gender. Notwithstanding, the Defendant

   Company’s failure to act accordingly effectively ratified and condoned the sexually harassing

   treatment of the Plaintiff. Specifically, the Plaintiff contends that Lowery’s behavior was

   consistently disruptive and of a sexually harassing nature.

32. Plaintiff contends that as a result of Defendant Company’s sexual harassment, she has

   suffered and continues to suffer severe emotional distress, including but not limited to,

   headaches, chronic depression, insomnia, chronic anxiety, stress, “nervous stomach,” and

   fear. The Plaintiff further contends that Lowery’s behavior caused her to be fearful in her

   work environment and caused her to be demeaned and disregarded. The Plaintiff further

   contends that she has sought treatment by a therapist and/or medical doctor for the

   aforementioned conditions as a result of Lowery’s sexually harassing behavior, and her

   subsequent separation of employment. The Plaintiff contends that her medical doctor and

   therapist diagnosed her as suffering from severe emotional distress as a result of the

   aforementioned behavior and prescribed medication to treat her condition.

33. All supervisors and employees were, at all times herein, working within the course and scope

   of their employment and in furtherance of the employers business. The plaintiff contends that

   at all times herein, the defendant company had the power, authority and responsibility to

   control Lowery’s and other employees’ conduct within the workplace; however it failed to do

   so. Further, pursuant to the doctrine of respondeat superior, the Defendant Company is




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    vicariously liable for acts herein alleged against those employees. Alternatively, the acts of

    the aforementioned employees may not have been within the scope of their employment.

34. The Plaintiff further contends that the Defendant Company, by and through its agents,

    specifically Lowery, acted with reckless indifference to her constitutional and statutory right

    to work in an environment free from sexual harassment.



                                             COUNT TWO

The Defendant is liable to the Plaintiff for subjecting her to sexual harassment, including a

Hostile Work Environment, in violation of Title VII.



WHEREFORE, plaintiff prays the Court that it:

1. Enter a declaratory judgment that the practices complained of herein are unlawful and in

violation of plaintiff’s rights;

2. Permanently enjoin the defendant from engaging in said unlawful practices, policies, customs,

and usages set forth herein and from continuing any and all other practices shown to be in

violation of applicable law;

3. Award plaintiff compensatory damages for pecuniary losses, emotional pain, and mental

anguish, together with attorney’s fees and the costs and disbursements of this action;

4. Award plaintiff punitive damages;

5. Award plaintiff backpay with prejudgment interest, and affirmative relief necessary to

eradicate the effects of the unlawful employment practices;

6. Grant plaintiff a jury trial on all issues of fact, and;

7. Grant such other relief as may be just and proper.




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This the 24th day of August, 2015.

GRAY NEWELL THOMAS, LLP.

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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   SOUTHERN DIVISION
                                Civil Action No. 7:13-cv-145-F



Lisa Cooper,                                 )
                       Plaintiff,            )
                                             )
                                             )
               vs.                           )             Certificate of Service
                                             )
                                             )
The Smithfield Packing Company, Inc.,        )
                     Defendant.              )


        I, Angela Newell Gray, Attorney for the Plaintiff, do hereby certify that I served the
foregoing Plaintiff’s Fourth Amended Complaint upon counsel for the Defendant shown below
by electronically filing the same with the Clerk of Court using the CM/ECF system which will
send notification of such filing to the following attorney of record;

                                      Melissa A. Romanzo
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This the 24th day of August, 2015.

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